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5
       Attorney for Defendant
6      Mr. Martin

7
8
                                 IN THE UNITED STATES DISTRICT COURT
9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
       UNITED STATES OF AMERICA,                         )   Case No. 1:21CR228-NODJ-BAM
12                                                       )
                               Plaintiff,                )   STIPULATION OF FACT RE: BENCH
13                                                       )   TRIAL
       v.                                                )
14                                                       )
       BENJAMIN JOHN MARTIN,                             )   Judge: Hon. Jennifer L. Thurston
15                                                       )   Date: September 10, 2024
                               Defendant.                )   Time: 9:00 a.m.
16                                                       )
                                                         )
17
18             The parties stipulate that the following facts are true and correct for the bench trial:

19          1. On September 2, 2021, federal agents executed search warrants at Martin’s residence in

20             Madera County, State and Eastern District of California.

21          2. There was a large safe in the garage of the residence.

22          3. In a recorded call that took place on September 2, 2021, Martin referred to the safe as

23             “my big one.”

24          4. Amongst other things, the safe contained the following:

25                 a. a Benelli 12-gauge shotgun, Model: Super Black Eagle II, with serial number

26                     U452103B;

27                 b. a Kimber .45 Caliber Pistol, Model: Raptor 2, with serial number KR85106; and

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1                   c. Martin’s United States Passport, birth certificate, and various other documents
2                       pertaining to Martin.
3         5. On top of the safe was one round of Santa Barbara 7.62 X 51 mm ammunition.
4         6. Martin knowingly possessed the firearms and ammunition in question.
5         7. The firearms and ammunition in question had previously been transported in interstate or
6              foreign commerce.
7         8. At the time Martin possessed the firearms and ammunition in question, Martin had a prior
8              conviction for a misdemeanor crime of domestic violence, to wit:
9                   a. Battery committed against a spouse with whom the defendant is cohabiting,
10                      person who is the parent of the defendant’s child, former spouse, fiancé, or
11                      fiancée, or a person with whom the defendant has, or has previously had, a dating
12                      or engagement relationship, in violation of California Penal Code Section
13                      243(e)(1) on or about December 21, 2018, in Fresno County Superior Court Case
14                      no. F18901304.
15        9. Martin’s prior conviction in question is a misdemeanor crime of domestic violence under
16             18 U.S.C. 922(g)(9) and 18 U.S.C. 921(a)(33)(A).
17        10. At the time Martin possessed the firearms and ammunition in question, he knew that he
18             had the prior conviction in question and that it was a misdemeanor crime of
19             domestic violence.
20        11. The parties agree that this stipulation may be read and received into evidence at the
21             bench trial.
22             IT IS SO STIPULATED.
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       !Unexpected
        United States v.End  of FormulaUnited
                         Martin                         -2-
        Stipulation of Fact re: Bench Trial
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1
                                                      Respectfully submitted,
2
       Date: August 27, 2024                          HEATHER E. WILLIAMS
3                                                     Federal Defender
4                                                     /s/ Hootan Baigmohammadi
                                                      HOOTAN BAIGMOHAMMADI
5                                                     DOUGLASS BEAVERS
                                                      Assistant Federal Defenders
6                                                     Attorneys for Mr. Martin
7
8      Date: August 27, 2024                          PHILLIP A. TALBERT
                                                      United States Attorney
9
                                                      /s/ Joseph Barton
10                                                    JOSEPH BARTON
11                                                    ROBERT VENEMAN-HUGHES
                                                      Assistant United States Attorneys
12                                                    Attorneys for Plaintiff

13
               Martin understands that he has the right to make the government meet its burden and
14
       prove these facts at the bench trial. Martin agrees that he has had sufficient time to discuss his
15
       decision to waive this right with his attorneys. Martin also agrees that he is not under the
16
       influence of any substances or suffering from any physical or mental health conditions that may
17
       impair his ability to understand this waiver. Finally, Martin agrees that his waiver is knowing,
18
       intelligent, and voluntary.
19
               Martin further agrees to forfeit the firearms and ammunition in question.
20
21
       Date: August 27, 2024                           /s/ Benjamin Martin
22                                                     BENJAMIN MARTIN
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       !Unexpected
        United States v.End  of FormulaUnited
                         Martin                         -3-
        Stipulation of Fact re: Bench Trial
